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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                              ORDER

         As discussed during the Status Conference held on November 26, 2024, the court orders

the following with regard to further proceedings in this matter:

         On or before December 5, 2024, Google shall disclose the hit counts for Plaintiffs’ search

strings for Request Nos. 20, 23, 24, 25, 26, and 27, for the period August 5, 2024 to November 5,

2024.

         On or before December 6, 2024, non-party Perplexity AI shall serve its responses and

objections to Google’s subpoena; Google and non-parties Microsoft, Perplexity AI, and OpenAI

shall file Joint Status Reports, which shall update the court on the status of the discovery disputes

raised in their respective filings and addressed at the November 26, 2024 Status Conference; and
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the parties shall file a Joint Status Report, which shall update the court on the status of the

discovery disputes raised in their November 22, 2024 Joint Status Report and addressed at the

November 26, 2024 Status Conference.

        On or before December 10, 2024, Plaintiffs shall serve their revised witness list, which

shall identify all third-party witnesses by name. The December 20, 2024 deadline for Google to

serve its initial witness list remains in effect. If Google needs additional time, it may file a motion

requesting an extension of time in accordance with the September 18, 2024 Scheduling Order.

        In the Joint Status Report due January 6, 2025, Plaintiffs shall update the court on the

status of their witness disclosures.




Dated: November 26, 2024                                      Amit P. Mehta
                                                        United States District Judge




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